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                    In the United States District Court
                    For the Southern District of Texas
                            Houston Division

United States of America                 §
                                         §           No. 4:22-cr-374
v.                                       §
                                         §
Erika Luke,                              §
                                         §
     Defendant                           §

 Entry of Appearance by Attorney Bob Mabry for Defendant Erika
                              Luke

To the Honorable Court:

     Attorney Bob Mabry appears for Defendant Erika Luke. She has

hired him.

Respectfully submitted,

Bob Mabry Attorney at Law PLLC
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/s/ Bob Mabry
For the Firm


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Entry of Appearance
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                       CERTIFICATE OF SERVICE
       On August 1, 2022, I served a true copy of the document
 above on the financial litigation unit of the SDTX U.S. Attorney’s
 Office at flu.usatxs-@usdoj.gov and Assistant U.S. Attorney Karen
 Mitchell Lansden at karen.lansden@usdoj.gov by Southern District
 of Texas CM/ECF.

/s/ Bob Mabry
